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                                   STATEMENT OF FACTS

        On January 6, 2021, your affiant, Seth Webb, was on duty and performing my official
duties as a Special Agent with the Federal Bureau of Investigation (“FBI”). Currently, I am tasked
with investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a
Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       On January 6, 2021, Daniel Ray Caldwell (hereinafter referred to as CALDWELL) was
captured on video assaulting federal agents and engaging in disruptive or disorderly conduct on
the lower west terrace of the Capitol Building. The video footage was subsequently obtained by
law enforcement.

        On January 27, 2021, a Twitter account using the handle @chris_sigurdson posted two
links to videos. The first link is to a YouTube video titled, “Storm The Capitol w/ dream floral”
which is posted by user dream floral. At approximately three minutes and 15 seconds into the
eleven minute and 14 second video, CALDWELL was observed wearing an olive drab in color
hoodie, dark glasses on a camouflage hat, camouflage assault pack, and camouflage trousers.
CALDWELL was seen spraying a mist at police who were attempting to stop protesters from
getting up the Capitol steps. Screenshots of CALDWELL spraying the officers are shown below
in the following two photographs:
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    At approximately three minutes and 16 seconds into the same YouTube video,
CALDWELL was also captured holding the can used to spray the officers:




        In the second link posted by the Twitter account using the handle @chris_sigurdson, a
subject, later identified as CALDWELL by W1 (see below), was depicted on video talking about
the events that had occurred at the Capitol. The video appears to have been recorded on January
6, 2021, at 4:54 pm in the lobby of the Renaissance Hotel, located at 2800 South Potomac Avenue,
Arlington, Virginia. The video link was uploaded on ProPublica and depicted CALDWELL
wearing the same clothing as depicted in the YouTube video. Specifically, CALDWELL was
wearing an olive drab in color hoodie, this time with a red sticker on the left breast that read “Guns
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SAVE Lives”, dark glasses on a camouflage hat, camouflage assault pack, and camouflage
trousers.

        During the video, off-camera females asked CALDWELL questions about the events that
had occurred at the Capitol, and CALDWELL responded by describing those events and his
involvement in them. CALDWELL told the females that after ten minutes of storming the Capitol,
a large fight broke out and a female was hit in the neck. According to CALDWELL, the fight then
started and then “they took their guys” and then someone took her (referring to the female who
was hit) and took off. CALDWELL said that individuals stayed in the area and police were
spraying mace towards him. CALDWELL said he told them if they continued, he would return
spray. According to CALDWELL, once the officers sprayed him, CALDWELL sprayed toward
police officer and believed he sprayed around 15 officers. CALDWELL stated that officers then
shot him with a big cannon with rubber bullets. The ProPublica video interview shows
CALDWELL as depicted below in the following two photographs:




       On February 2, 2021, law enforcement requested records from the Renaissance Hotel for
names of individuals who stayed on January 5, 2021. The Renaissance provided a booking
reservation for an individual booked under the name Daniel Caldwell, which shows that
CALDWELL stayed at the Renaissance on January 5, 2021.

        On February 3, 2021, law enforcement was able to identify CALDWELL, who is a resident
of The Colony, Texas, by comparing a copy of his driver’s license photo to the video images.
CALDWELL’s physical appearance was consistent with the screenshots taken from the ProPublica
video, and also consistent with the individual described above in the YouTube video.
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        On February 4, 2021, law enforcement interviewed WITNESS 1 (herein after W1) in
reference to CALDWELL. W1 was shown a photograph of screenshots from the ProPublica video.
W1 recognized the male in the photograph, but stated W1 never learned the individual’s true name.
W1 engages in Airsoft Military Simulation (MilSim), which is a live-action, in person simulation
of armed conflict scenarios conducted by civilians that involve airsoft plastic projectiles launched
be replica weapons, but do not involve actual firearms. W1 stated that most players are only
referred to as their call sign or ‘code name’ while playing Airsoft. W1 did not know the individual’s
call sign or code name. Law enforcement showed W1 CALDWELL’s Texas driver’s license
photograph, without revealing CALDWELL’s name to W1. W1 verified the driver’s license
photograph and ProPublica screenshots were the same individual W1 had met and interacted with
in the past MilSim events. W1 stated the last time W1 saw the individual from the MilSim events,
the individual had a beard. In addition, W1 viewed the ProPublica video and confirmed with
certainty that the individual in the video was the same individual W1 identified from the Texas
driver’s license photograph. W1 further viewed the YouTube video and identified the individual
spraying law enforcement as the same individual W1 viewed in the Texas driver’s license
photograph, saying words to the effect of “that appears to be him, he is wearing the same clothing.”

        W1 met the male that W1 had identified in the ProPublica and YouTube videos, as well as
the driver’s license photograph (CALDWELL), approximately three or four years ago while
playing MilSim near Sanger, Texas and was familiar with the individual’s appearance. W1
described the individual as a “huge white supremacist” and was “a complete wacko.” While
playing Airsoft, according to W1, the individual would bring a real firearm to the course and had
to be corrected on multiple occasions to return the firearm to his vehicle. W1 was also asked about
the black and white patch the individual was seen wearing on his backpack in the video inside the
Renaissance Hotel (ProPublica video). W1 identified the patch as American Military Simulation
or MilSim and stated they were given out at MilSim events. W1 stated the individual likely
received the patch from an event in Sanger, Texas in 2020 hosted by American MilSim.

       A phone number belonging to CALDWELL was identified through law enforcement
databases. Lawfully-obtained AT&T Corporation records reflect that the device using the phone
number belonging to CALDWELL was located in the area of the U.S. Capitol Building during the
time period of 7:40 – 7:59 PM UTC (or 2:40 – 2:59 PM EST). The location information for the
phone is consistent with CALDWELL being present in or near the area where the offenses
described and depicted above occurred on January 6, 2021.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
CALDWELL violated 18 U.S.C. § 1752(a)(1), (2), and (4), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; and (4) knowingly
engage in any act of physical violence against any person or property in any restricted building or
grounds. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
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visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that CALDWELL violated 40
U.S.C. § 5104(e)(2)(D), and (F), which makes it a crime to willfully and knowingly utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and engage in an act of physical violence in the Grounds or any of the Capitol Buildings.

        Your affiant submits there is probable cause to believe that CALDWELL violated 18
U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

        Your affiant submits there is probable cause to believe that CALDWELL violated 18
U.S.C. 111(a)(1), which makes it crime for whoever forcibly assaults, resists, opposes, impedes,
intimidates, or interferes with any person designated in section 1114 of this title while engaged in
or on account of the performance of official duties. For purposes of Section 1114 of Title 18, an
officer or employee is engaged in or on account of the performance of official duties, or any person
assisting such an officer or employee in the performance of such duties or on account of that
assistance.


                                              _________________________________
                                              SPECIAL AGENT SETH WEBB
                                              FEDERAL BUREAU OF INVESTIGATION


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 8th day of February 2021.

                                                                              2021.02.08
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                                                      ___________________________________
                                                      ZIA M. FARUQUI,
                                                      UNITED STATES MAGISTRATE JUDGE
